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                                                                            STATEMENT OF ACCOUNT


     EMILY RUTHERFORD
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                                                                            Statement Period:     May 26 2024-Jun 25 2024




DAILY ACCOUNT ACTIVITY
Electronic Payments
POSTING DATE              DESCRIPTION                                                                                    AMOUNT




Call 1-800-937-2000 for 24-hour Bank-by-Phone services or connect to www.tdbank.com
Bank Deposits FDIC Insured | TD Bank, N.A. | Equal Housing Lender
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                                                                            STATEMENT OF ACCOUNT


     EMILY RUTHERFORD
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                                                                            Statement Period:     May 26 2024-Jun 25 2024




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE              DESCRIPTION                                                                                    AMOUNT




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                                                                            STATEMENT OF ACCOUNT


     EMILY RUTHERFORD
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                                                                            Statement Period:     May 26 2024-Jun 25 2024




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE              DESCRIPTION                                                                                    AMOUNT




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                                                                            STATEMENT OF ACCOUNT


     EMILY RUTHERFORD
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                                                                            Statement Period:     May 26 2024-Jun 25 2024




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE              DESCRIPTION                                                                                    AMOUNT




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     EMILY RUTHERFORD
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DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE              DESCRIPTION                                                                                    AMOUNT




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Bank Deposits FDIC Insured | TD Bank, N.A. | Equal Housing Lender
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     EMILY RUTHERFORD
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DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE              DESCRIPTION                                                                                    AMOUNT




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     EMILY RUTHERFORD
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DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE              DESCRIPTION                                                                                    AMOUNT




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     EMILY RUTHERFORD
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DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE              DESCRIPTION                                                                                     AMOUNT




Other Withdrawals
POSTING DATE              DESCRIPTION                                                                                     AMOUNT
06/14                      DEP RETURN CHARGEBACK                                                                        64,000.00
                                                                                                   Subtotal:            64,000.00
Service Charges
POSTING DATE              DESCRIPTION                                                                                     AMOUNT




DAILY BALANCE SUMMARY
DATE                                                   BALANCE                    DATE                                   BALANCE
05/25                                                    938.12                   06/11                                 64,752.17
05/28                                                    261.88                   06/12                                 64,507.94
05/30                                                  3,141.65                   06/13                                 64,325.92




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